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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

KENDALL MEYERS,

                Plaintiff,

v.                                                          Case No. 4:22-cv-00074-LPR

AUTODESK, INC.,

                Defendant.


PLAINTIFF’S BRIEF IN SUPPORT OF HIS RESPONSE TO DEFENDANT’S MOTION
TO DISMISS FOR IMPROPER VENUE OR ALTERNATIVELY, TO TRANSFER FOR
                        FORUM NON CONVENIENS


       Comes now the Plaintiff, Kendall Meyers, and for his brief in support of his Response to

Defendant’s Motion to Dismiss, states the following:

       1.       Plaintiff Kendall Meyers filed suit in Circuit Court of Faulkner County, Arkansas

where he currently resides. In his complaint, Plaintiff alleges race discrimination in violation of

Title VII of the Civil Rights Act of 1964 while employed at Defendant Autodesk, Inc. Plaintiff

does allege that he was the victim of racially offensive comments and behavior over video chat,

zoom and emails while employed at Autodesk, Inc.

       2.       At all times, Plaintiff worked remotely during his entire position and tenure at

Autodesk, Inc. due to Covid. The allegations alleged in Plaintiff’s complaint occurred over zoom

and emails. During his entire employment at Autodesk, Inc., Plaintiff traveled back and forth

between Arkansas and Georgia for personal reasons. Due to the allegations in Plaintiff’s
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Complaint, Plaintiff has not had employment since his job ceased with Autodesk, Inc. Plaintiff

does not have the monetary means to travel back and forth to Georgia to pursue his claim.

                                          ARGUMENT

       A.       Plaintiff’s Complaint should NOT Be Dismissed

       3.       It is well established that a sheer number of witnesses will not decide which way

the convenience factor tips. Terra Int'l., Inc. v. Miss. Chem. Corp., 922 F. Supp. 1334 (N.D.

Iowa 1996). Defendant claims that Plaintiff’s should be dismissed because the employment was

scheduled to be in Atlanta, Georgia. However, all racially offensive conduct happened over

zoom and emails, not in the office. Defendant states nothing further as to a request to dismiss the

lawsuit other than the witnesses and paperwork is in Atlanta, Georgia. The evidence occurred

over zoom, video chat and emails which are easily accessible and deliverable in this forum.

Covid has changed how law is practiced.

       4.       Plaintiff agrees the venue is controlled by a specific statute. Again, Plaintiff

alleges the racially offensive conduct happened over zoom and emails, not in the office. Because

all of his employment happened over zoom, video chat and emails, Plaintiff was able to travel at

his leisure back and forth between Arkansas and Georgia. Plaintiff requests this court to rule that

dismissal is inappropriate.

       B.       Plaintiff’s Action Should NOT Be Transferred

       5.       Plaintiff’s action should not be transferred again because sheer number of

witnesses will not decide which way the convenience factor tips. Terra Int'l., Inc. v. Miss. Chem.

Corp., 922 F. Supp. 1334 (N.D. Iowa 1996). “Section 1404(a) accords the district court much

discretion in deciding such motions. Norwood v. Kirkpatrick, 349 U.S. 29, 32, 75 S. Ct. 544,




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546-47, 99 L.Ed. 789 (1955).” Terra Intern., Inc. v. Miss. Chem. Corp., 119 F.3d 688, 697 (8th

Cir. 1997).

       6.       Additionally, “a transfer motion requires the court to consider the convenience of

the parties, the convenience of the witnesses, the interests of justice, and any other relevant

factors when comparing alternative venues.” See 28 U.S.C. § 1404 (a); 15 Wright, Miller, and

Cooper, supra § 3847. “A review of the district court's opinion reveals that the court

meticulously analyzed the numerous criteria that courts traditionally consider when deciding a

motion to transfer. Under the general category titled "Balance of Convenience" the district court

considered (1) the convenience of the parties, (2) the convenience of the witnesses-including the

willingness of witnesses to appear, the ability to subpoena witnesses, and the adequacy of

deposition testimony, (3) the accessibility to records and documents, (4) the location where the

conduct complained of occurred, and (5) the applicability of each forum state's substantive law.”

Terra, 922 F. Supp. at 1357-61. “Under the category titled "Interest of Justice" the court also

considered (1) judicial economy, (2) the plaintiff's choice of forum, (3) the comparative costs to

the parties of litigating in each forum, (4) each party's ability to enforce a judgment, (5) obstacles

to a fair trial, (6) conflict of law issues, and (7) the advantages of having a local court determine

questions of local law.” Id. at 1361-63. “These considerations parallel the factors that courts

typically analyze under section 1404(a).” See, e.g., Chrysler Credit Corp. v. Country Chrysler,

Inc., 928 F.2d 1509, 1516 (10th Cir. 1991) (quoting Texas Gulf Sulphur Co. v. Ritter, 371 F.2d

145, 147 (10th Cir. 1967)).

       7.       Plaintiff worked remotely during his entire position and tenure at Autodesk, Inc.

due to Covid. The allegations alleged in Plaintiff’s complaint occurred over zoom and emails.

During his entire employment at Autodesk, Inc., Plaintiff traveled back and forth between




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Arkansas and Georgia for personal reasons. Due to the allegations in Plaintiff’s Complaint,

Plaintiff has not had employment since his job ceased with Autodesk, Inc. Plaintiff does not have

the monetary means to travel back and forth to Georgia to pursue his claim.

CONCLUSION

       Based on the foregoing, Plaintiff respectfully requests this Court deny Defendant’s

Motion to Dismiss.




                                            Respectfully submitted,


                                                   /s/LaTonya Austin Honorable
                                            LaTonya Austin Honorable ABN 2002102
                                            THE AUSTIN LAW FIRM, PLLC
                                            P.O. Box 6466
                                            Sherwood, AR 72124-6466
                                            Phone 501-541-0599
                                            Fax 501-834-2022


                                CERTIFICATE OF SERVICE

        I, LaTonya Austin Honorable, hereby certify that on this 31st day of May 2022, I have
delivered a true copy of the above-named pleading/document to the following person(s) or
attorney(s) of record via Federal electronic filing system to the following:

       M. Kimberly Hodges
       Ogletree, Deakins, Nash,
       Smoak & Stewart, PC
       6410 Poplar Avenue, Suite 300
       Memphis, Tennessee 38119



                                                  /s/LaTonya Austin Honorable
                                            LaTonya Austin Honorable ABN 2002102




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